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        United States Court of Appeals
             for the Fifth Circuit
                            ___________

                             No. 23-60494
                            ___________

Will McRaney,

                                                     Plaintiff—Appellant,

                                 versus

The North American Mission Board of the Southern
Baptist Convention, Incorporated,

                                        Defendant—Appellee.
              ______________________________

              Appeal from the United States District Court
                for the Northern District of Mississippi
                        USDC No. 1:17-CV-80
              ______________________________

ORDER:
      IT IS ORDERED that the opposed motion of the Becket Fund for
Religious Liberty to file an amicus brief is GRANTED.


                                /s/ Dana M. Douglas
                                Dana M. Douglas
                                United States Circuit Judge
